Case 2:18-cv-00585-RFB-NJK Document 609-1 Filed 10/13/22 Page 1 of 4




    EXHIBIT A
        Declaration of Jessica E. Whelan




    EXHIBIT A
                                                                       001
                                      Case 2:18-cv-00585-RFB-NJK Document 609-1 Filed 10/13/22 Page 2 of 4



                                  1 J. Stephen Peek, Esq. (1758)
                                    Bryce K. Kunimoto, Esq. (7781)
                                  2 Jessica E. Whelan (14781)
                                    Erica C. Medley (13959)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Phone: 702.669.4600
                                  5 Fax: 702.669.4650
                                    speek@hollandhart.com
                                  6 bkunimoto@hollandhart.com
                                    jewhelan@hollandhart.com
                                  7 ecmedley@hollandhart.com

                                  8 Attorneys for Defendants Aruze Gaming
                                    America, Inc. and Kazuo Okada
                                  9
                                    Jeffrey S. Love, Esq. (pro hac vice)
                                 10 Kristin L. Cleveland, Esq. (pro hac vice)
                                    Caroline L. Desmond (pro hac vice)
                                 11 Ryan L. Frei (pro hac vice)
                                    KLARQUIST SPARKMAN, LLP
                                 12 One World Trade Center
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    121 S.W. Salmon Street, Suite 1600
                                 13 Portland, Oregon 97204
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    jeffrey.love@klarquist.com
                                 14 kristin.cleveland@klarquist.com
                                    caroline.desmond@klarquist.com
                                 15 ryan.frei@klarquist.com

                                 16 Attorneys for Defendant Aruze Gaming
                                    America, Inc.
                                 17
                                                                UNITED STATES DISTRICT COURT
                                 18                                   DISTRICT OF NEVADA
                                 19 UNIVERSAL ENTERTAINMENT                         Case No.: 2:18-cv-00585-RFB-GWF
                                    CORPORATION, a Japanese corporation,
                                 20                    Plaintiff,                   DECLARATION OF JESSICA
                                    v.                                              WHELAN, ESQ., IN SUPPORT OF
                                 21 ARUZE GAMING AMERICA, INC. a Nevada             DEFENDANT ARUZE GAMING
                                    corporation, KAZUO OKADA, an individual,        AMERICA, INC.’S OPPOSITION TO
                                 22                    Defendants.                  UNIVERSAL ENTERTAINMENT
                                                                                    CORP.’S MOTION TO COMPEL
                                 23                                                 PRODUCTION OF RSM DOCUMENTS
                                 24 ARUZE GAMING AMERICA, INC., a Nevada
                                    corporation, KAZUO OKADA, an individual,
                                 25                    Counter-Claimants,
                                    v.
                                 26 UNIVERSAL ENTERTAINMENT
                                    CORPORATION, a Japanese corporation,
                                 27 ARUZE USA, a Nevada corporation, and JUN
                                    FUJIMOTO, an individual,
                                 28                    Counter-Defendants.
                                                                                1
                                                                                                                 002
                                      Case 2:18-cv-00585-RFB-NJK Document 609-1 Filed 10/13/22 Page 3 of 4



                                  1           I, Jessica Whelan, Esq., declare as follows:
                                  2           1.        I am over eighteen years of age and competent to testify to the facts stated herein,
                                  3    which are based on personal knowledge unless stated otherwise, and if called upon to testify, I
                                  4    could and would testify competently to the following.
                                  5           2.        I am an attorney at Holland & Hart LLP, counsel for Defendants/
                                  6    Counterclaimants Aruze Gaming America, Inc. (“AGA”) and Mr. Kazuo Okada (“Mr. Okada”)
                                  7    (collectively, “Defendants”) in the above-captioned matter.
                                  8           3.        I submit this declaration in support of AGA’s Opposition to Universal
                                  9    Entertainment Corporation’s Motion to Compel Production of RSM Documents (the
                                 10    “Opposition”).
                                 11           4.        AGA has produced over 1,700 documents with the keyword “RSM” or
                                 12    “McGladrey,” where RSM was acting in some other capacity than as a consultant to AGA’s in-
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13    house lawyers.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14           5.        AGA has produced documents and communications involving RSM in its
                                 15    capacity as accountant or outside auditor. AGA withholds only those communications involving
                                 16    consultancy services for AGA that were necessary to aid in-house counsel in providing legal
                                 17    advice to AGA in connection with its global restructure.
                                 18           6.        AGA has produced third-party valuations of its intellectual property related to the
                                 19    global restructuring involving AGA’s Hong Kong affiliate, Aruze Gaming Hong Kong Ltd.
                                 20    (“AGHK”) dated at or around the time of the restructuring. For example, AGA has produced its
                                 21    2013–2015 audited consolidated financial statements prepared by RSM, specifically referring at
                                 22    p. 33 to the value of AGA’s intellectual property sold as part of the global restructuring plan
                                 23    (AGA00049566). AGA has further produced a third-party evaluation of AGA’s intellectual
                                 24    property transferred during the global restructuring, attaching as an exhibit a 215-page detailed
                                 25    transfer pricing analysis from RSM (AGA00123858).
                                 26           7.        AGA has also produced more recent valuations showing the value of intellectual
                                 27    property as transferred back from AGHK to AGA. For example, AGA has produced a third-
                                 28

                                                                                          2
                                                                                                                                 003
                                      Case 2:18-cv-00585-RFB-NJK Document 609-1 Filed 10/13/22 Page 4 of 4



                                  1    party transfer pricing and valuation for fiscal year 2021 (AGA00295520), and a 2021 transfer
                                  2    agreement including the value of transferred intellectual property (AGA00295451).
                                  3            Executed on this 13th day of October, 2022.
                                  4

                                  5
                                                                                      /s/ Jessica E. Whelan
                                  6                                                  JESSICA E. WHELAN
                                  7

                                  8    20009968_v1

                                  9

                                 10

                                 11

                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15

                                 16

                                 17

                                 18

                                 19

                                 20

                                 21

                                 22

                                 23

                                 24

                                 25

                                 26

                                 27

                                 28

                                                                                      3
                                                                                                                           004
